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GARCIA & ANTOSH, LLP
1401 Central
Dodge City, Kansas 67801
(620) 225-7400 P
(620) 225-4339 F


                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


LYLE VANNAHMEN                                                           Plaintiff,

       vs.                                                       Case No. 17 CV 1174

DODGE CITY COMMUNITY COLLEGE                                             Defendant.


                   PLAINTIFF'S FIRST AMENDED RESPONSE
             TO DEFENDANT'S MOTION FOR SUMMARY JUDGMENT


       COMES NOW Plaintiff by counsel and for his response to defendant's motion for

summary judgment respectfully states and suggests:

       Defendant offers three main arguments: (1) that plaintiff's claim is barred by the fact

the hearing of which he complains was appealable and the claims he asserts herein could have

been asserted in that proceeding; (2) that plaintiff was afforded all of the process due him in

connection with his disciplinary proceeding as a matter of law; and (3) that the evidence does

not support a first amendment retaliation claim as a matter of law. Plaintiff disputes these

three arguments, and will take each in turn.


                                STATEMENT OF FACTS
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1.   Plaintiff agrees with defendant's statement of fact ¶ 1.

2.   Plaintiff agrees with defendant's statement of fact ¶ 2.

3.   Plaintiff agrees with defendant's statement of fact ¶ 3.

4.   With regard to defendant's statement of fact ¶ 4, to wit:

            When plaintiff attempted to meet with Dr. Nolte on December 8,
            security was placed on alert.

     Plaintiff disputes the statement. Upon further review it appears that security was

     placed on alert regarding him well before he attempted to meet with Dr. Nolte.

            Plaintiff's Exhibit A: Transcript, Steven Sites:

                                          37:30

            On 12/7/16 I was talking with security director Josh Thompson. He was telling me
            about a gentleman by the name of Lyle VanNahmen who went into Dr. Nolte's office
            and either

                                          38:00

            pulled down his window blinds or attempted to pull down the window blinds. From
            what I understand is that VanNahmen was trying to get Dr. Nolte to resign. On
            12/8/16 I was talking to Sharon Campbell when I noticed VanNahmen walk into the
            student union. He looked like he was lost. As soon as I noticed him I went down to
            Dr. Nolte's office to let him know he was in the building.


5.   Plaintiff agrees with defendant's statement of fact ¶ 5.

6.   Plaintiff agrees with defendant's statement of fact ¶ 6.

7.   With regard to defendant's statement of fact ¶ 7, to wit:

            Plaintiff knew when he received the charging document
            (VanNahmen Depo., Ex. 6) that the hearing was going to be about
            his conduct on December 5 and December 8. (VanNahmen Depo.,
            170:4-16.)
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      Plaintiff agrees with the statement in one sense and disputes the statement in

      another. Though plaintiff knew that the hearing was about his encounters with

      DCCC employees on those two dates, he did not know what specific conduct

      would be addressed. (VanNahmen Affd., ¶¶ 3-8.)

8.    Plaintiff agrees with defendant's statement of fact ¶ 8.

9.    Plaintiff has no reason to dispute defendant's statement of fact ¶ 9.

10.   Plaintiff has no reason to dispute defendant's statement of fact ¶ 10.

11.   Plaintiff objects to defendant's statement of fact ¶ 11 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

12.   Plaintiff objects to defendant's statement of fact ¶ 12 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

13.   Plaintiff objects to defendant's statement of fact ¶ 13 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

14.   Plaintiff objects to defendant's statement of fact ¶ 14 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

15.   Plaintiff objects to defendant's statement of fact ¶ 15 as wholly improper in that it
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      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

16.   Plaintiff agrees with defendant's statement of fact ¶ 16.

17.   Plaintiff agrees with defendant's statement of fact ¶ 17.

18.   Plaintiff disputes defendant's statement of fact ¶ 18, to wit:

             Mr. Antosh was furnished with the statements and reports of the
             witnesses, including Carla Patee's. (Temaat Affd., ¶ 7)

      Plaintiff was not provided with Harold Nolte's notes. Defendant doubled-down on

      the assertion that there were no Nolte notes. In its memorandum in support of its

      motion at p. 18 defendant states "[s]econd, plaintiff alleges that a written statement

      of one witness - Dr. Nolte - was not provided to him. However, there was no such

      statement to provide as none was ever written. (SOF 21.)" Plaintiff references

      Defendant's summary judgment Exhibit E at 46:58 - 47:05 minutes, also

      transcribed in Plaintiff's Exhibit A at 46:30 - 47:30:

             VanNahmen:            Did you make a written statement about my
                                   incident you had with me?

             Nolte:                Yes.

19.   Plaintiff agrees with defendant's statement of fact ¶ 19.

20.   Plaintiff agrees with defendant's statement of fact ¶ 20.

21.   Plaintiff disputes defendant's statement of fact ¶ 21, to wit:

             Dr. Nolte did not prepare a written statement but testified live at the
             hearing. (Nolte Affd., Plaintiff disputes defendant's statement of fact
             ¶ 18, to wit: 15; Temaat Affdl, Plaintiff disputes defendant's
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             statement of fact ¶ 18, to wit: 10.)

      Harold Nolte did prepare a written statement that was never provided to plaintiff.

      Defendant's summary judgment Exhibit E at 46:58 - 47:05 minutes, also at

      Plaintiff's Exhibit A at 46:30 - 47:30:


             VanNahmen:            Did you make a written statement about my
                                   incident you had with me?

             Nolte:                Yes.

22.   Plaintiff objects to defendant's statement of fact ¶ 22 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

23.   Plaintiff objects to defendant's statement of fact ¶ 23 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

24.   Plaintiff objects to defendant's statement of fact ¶ 24 as wholly improper in that it

      calls for a violation of Kansas Rules of Professional Conduct 3.7 Advocate: Lawyer

      as Witness in response.

25.   Plaintiff agrees with defendant's statement of fact ¶ 25.

26.   Defendant did not provide a statement of fact ¶ 26.

27.   Plaintiff agrees with defendant's statement of fact ¶ 27.

28.   Plaintiff agrees with defendant's statement of fact ¶ 28.

29.   With regard to defendant's statement of fact ¶ 29, to wit:
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             Mr. Thomas was out of state on the date of the hearing. Since he
             was not present and subject to cross-examination, his statement was
             not presented. (Temaat Affd. ¶ 13.)

      Plaintiff agrees that Mr. Thomas was not present on the date of the hearing, and

      that his statement was not presented. Plaintiff does not know why he was not

      present, and Ms. Temaat's affidavit should not be considered on this (probably

      completely immaterial) point.

30.   With regard to defendant's statement of fact ¶ 30, to wit:

             Plaintiff knew that the evidence that would be presented at the
             hearing would include the statements and the testimony of those
             witnesses. (VanNahmen Depo., 180:20 - 181:1)

      Minor point, but plaintiff would substitute "could" for "would" (VanNahmen
      Depo., 180:20 - 181:1):

             20   Q You knew, sir, that some of the evidence that was
             21     going to be presented at the hearing --
             22   A Yes.
             23   Q -- was going to be Exhibit 7?
             24   A Yes.
             25   Q And the testimony of those witnesses; correct?
             1    A Could be, yes.

31.   Plaintiff agrees with defendant's statement of fact ¶ 31.

32.   With regard to defendant's statement of fact ¶ 32, to wit:

             The statements plaintiff received before the hearing spell out that the
             witnesses were saying that they perceived plaintiff's conduct as
             intimidating and threatening. (VanNahmen Depo., 179:4-7)

      Although plaintiff indicated agreement on the date of his deposition, upon

      subsequent review he would qualify the answer. For reasons stated in ¶ 33 which
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      follows, it is questionable whether the statements provided to plaintiff were in fact

      the statements of their alleged authors.

33.   With regard to defendant's statement of fact ¶ 33, to wit:

             The Patee statement discusses Patee's version of plaintiff's visit to
             Dr. Nolte's office on December 5, 2016 (VanNahmen Depo, Ex. 7,
             pgs 1-2)

      Though plaintiff does not dispute this statement, it must be balanced against her

      statements made at plaintiff's disciplinary hearing on April 25, 2017; Plaintiff

      references Defendant's summary judgment Exhibit E at 48:05 - 48:43 minutes, also

      at Plaintiff's Exhibit A at 48:00 - 49:00:


             VanNahmen:                    When I met with President Nolte in his
                                           office did you hear yelling?

             Patee:                        I don't recall that.

             VanNahmen:                    Okay, so then... when I met with
                                           President Nolte in his office did you hear
                                           me curse and you said "I didn't" so that's
                                           irrelevant-

             Patee:                        The door was closed, so-

             VanNahmen:                    Did I enter President Nolte's office
                                           without permission?

             Patee:                        No. The door is always open.

             VanNahmen:                    Did I have to be escorted out of President
                                           Nolte's office?

             Patee:                        No.
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             VanNahmen:                  Okay good.


             So–Carla Patee allegedly authored VanNahmen Depo. Ex. 7, pp. 1-2. Just

             reproducing the first page here:


             Monday, December 5:

             Mr. Lyle Van Nahmen entered Carla's office and asked to speak with
             Dr. Nolte. (He had come to the office prior, but Dr. Nolte was in a
             meeting and not available.)

             Dr. Nolte met with Mr. Van Nahmen in the President's office. Mr.
             Van Nahmen asked Dr. Nolte to lower the blinds in the office.

             After some small talk about Spearville - Mr. Van Nahmen asked
             "Whose stupid idea is this retail development?"

             Dr. Nolte replied, "The idea came from the City and developers and
             I presented this information to the Board.

             Mr. Van Nahmen said "The Board is old and stupid - if this is your
             idea, you need to resign." (He asked for Dr. Nolte's resignation more
             than one time.)

             Dr. Nolte replied "I'm not going to resign".

             Mr. Van Nahmen got up and left the office.

             Dr. Nolte immediately asked Mr. Keith Thomas to come to the
             office area and relayed this story to Mr. Thomas and Carla Patee.

      What an unusual statement "by Carla Patee," who apparently writes about herself

      in the third person, and who apparently hears conversations but not shouts through

      closed doors.

34.   Plaintiff agrees with defendant's statement of fact ¶ 34.
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35.   Plaintiff agrees with defendant's statement of fact ¶ 35.

36.   Plaintiff agrees with defendant's statement of fact ¶ 36.

37.   Plaintiff agrees with defendant's statement of fact ¶ 37.

38.   Plaintiff agrees with defendant's statement of fact ¶ 38.

39.   Plaintiff agrees with defendant's statement of fact ¶ 39.

40.   With regard to defendant's statement of fact ¶ 40, to wit:

               Plaintiff does not believe that there were any questions he should have
               asked the witnesses at the hearing that he did not ask. (VanNahmen Depo.,
               189:3-6.)

      Plaintiff believed the hearing was illegitimate; as such, he limited his participation

      in it.

      Defendant's summary judgment Exhibit E at 1:00:11 - 1:00:37 minutes, and

      Plaintiff's Exhibit A at 1:00:00 - 1:01:00:

               VanNahmen:                  I understand what you're saying and I'm gonna
                                           read this statement at this time. I am exercising
                                           my right to not answer questions. According to
                                           the student handbook the student charged may
                                           be questioned only if testifying in his or her own
                                           behalf. Examination of witnesses by the person
                                           charged does not constitute testimony on one's
                                           own behalf. I will not be testifying on my own
                                           behalf although I'd like to make a non-
                                           testimonial closing statement.

      Defendant's summary judgment Exhibit E at 1:00:54 - 1:01:53 minutes and

      Plaintiff's Exhibit A at 1:00:30 - 1:02:00:

               VanNahmen:                  Okay my closing statement is, I have a number
                                           of points that I would like to make. I do not
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                                          believe this tribunal can impartially conduct this
                                          hearing because everyone here is beholden to
                                          President Nolte, the chief complainant against
                                          me. My understanding is that I was pre-judged
                                          guilty of misconduct and the purpose of today's
                                          hearing is to mitigate punishment. Going into
                                          this hearing I have not been made aware of what
                                          type of punishment I am likely to face if I am
                                          found guilty of misconduct. I have not been
                                          permitted to have members of the public here
                                          even though I have through my attorney
                                          requested that this hearing be open to the
                                          public. My attorney has not allowed to
                                          participate in my hearing. I have not been
                                          provided a clear statement of what I am accused
                                          of doing wrong. I expressed myself peacefully,
                                          which is my constitutional right, and I have been
                                          penalized for doing so.

41.   Plaintiff agrees with defendant's statement of fact ¶ 41.

42.   Plaintiff agrees with defendant's statement of fact ¶ 42.

43.   With regard to defendant's statement of fact ¶ 43, to wit:

             Plaintiff did not object to any of the evidence presented and does not
             contend that any improper evidence was considered. (VanNahmen
             Depo., 189:19 - 190:9.)

      Plaintiff disputes this as it assumes there was a procedure for objecting to the

      introduction of evidence at the disciplinary hearing; there was none.

             "Formal rules of evidence are not to be applied." Plaintiff's Exhibit A
             at 10:00 - 10:30.

44.   With regard to defendant's statement of fact ¶ 44, to wit:

             At the hearing, the College presented witnesses to testify to the
             actions of the plaintiff in the meeting with Dr. Nolte on December 5
             and its effect on Dr. Nolte. (ECF Document 28, Pretrial Order
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             Stipulation, § 2.a.9; Ex. E, Hearing Recording.)

      Minor point but plaintiff disputes any suggestion that there was more than one

      witness to "the actions of the plaintiff in the meeting with Dr. Nolte on December

      5" although there were multiple "witnesses" if the meeting is taken in tandem with

      "...and its effect on Dr. Nolte." (Defendant's Summary Judgment Exhibit E)


45.   Plaintiff agrees with defendant's statement of fact ¶ 45.

46.   Plaintiff agrees with defendant's statement of fact ¶ 46.

47.   Plaintiff agrees with defendant's statement of fact ¶ 47.

48.   Plaintiff agrees with defendant's statement of fact ¶ 48.

49.   With regard to defendant's statement of fact ¶ 49, to wit:

             The security director testified that, as a result of plaintiff's behavior,
             he had concerns for Dr. Nolte's safety and changed security
             procedures including putting his desk just outside Dr. Nolte's office.
             (VanNahmen Depo., 191:9-22, Ex. 7, p. 6; Ex. E, Hearing Recording
             at 43:32 - 43:38 minutes.)

      Plaintiff disputes that the security director's action were "as a result of plaintiff's

      behavior." The security director did not observe plaintiff's behavior; he was told

      about the alleged behavior. (Ex. E, Hearing Recording) (Plaintiff's Exhibit A at

      43:30-44:00)

50.   Plaintiff agrees with defendant's statement of fact ¶ 50.

51.   With regard to defendant's statement of fact ¶ 51, to wit:

             At the hearing plaintiff was advised by the presiding officer that it
             would be helpful to explain his conduct from his point of view and to
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             explain what he intended to do with his education if he were allowed
             to continue at the College. (Ex. E, Hearing Recording at 13:38 - 13:57
             minutes, Plaintiff's Exhibit A at 13:30 - 14:00.)

52.   Plaintiff agrees with defendant's statement of fact ¶ 52.

53.   With regard to defendant's statement of fact ¶ 53, to wit:

             Plaintiff did not testify at the hearing. (ECF Document 28, Pretrial
             Order Stipulation, § 2.a.8.)

      As previously stated plaintiff believed the hearing was illegitimate; as such, he

      limited his participation in it.

54.   With regard to defendant's statement of fact ¶ 54, to wit:

             Plaintiff could have provided testimony from himself about what did
             or did not happen in Dr. Nolte's office on December 5, but did not.
             (VanNahmen Depo. 193:16-21.)

      As previously stated plaintiff believed the hearing was illegitimate; as such, he

      limited his participation in it.

55.   With regard to defendant's statement of fact ¶ 55, to wit:

             Plaintiff did not tell the hearing committee that any of the statements
             of the witnesses were not correct. (VanNahmen Depo., 194:3-5.)

      As previously stated plaintiff believed the hearing was illegitimate; as such, he

      limited his participation in it.

56.   With regard to defendant's statement of fact ¶ 56, to wit:

             At the hearing, one of the committee members asked plaintiff if he
             was going to tell them his side of the story and plaintiff declined to do
             so. (VanNahmen Depo., 195:4-11; Ex. E, Hearing Recording at 59:42
             - 1:00:36 minutes.)
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      As previously stated plaintiff believed the hearing was illegitimate; as such, he

      limited his participation in it.

57.   With regard to defendant's statement of fact ¶ 57, to wit:

             Plaintiff knows of no additional person that would have attended the
             hearing if it had been open to the public. (VanNahmen Depo.,
             200:8-12.)

      Defendant did not ask anyone (aside from his wife, who was permitted to stay after

      some discussion) to attend because he was advised that the hearing was closed to

      the public. VanNahmen Affd., ¶ 13.

58.   With regard to defendant's statement of fact ¶ 58, to wit:

             The Judicial Hearing Board that heard Lyle VanNahmen's case on
             April 25, 2017 consisted of two tenured faculty and the Director of
             Residence Life. (Temaat Affd., ¶ 16.)

      Plaintiff was not made aware of the identities of the members of the disciplinary

      hearing panel prior to the date of his hearing, or anything about their employment

      circumstances aside from the fact that they were all employed by Defendant. They

      were not even named in Bev Temaat's affidavit, though they provided their names

      at the hearing. VanNahmen Affd., ¶ 9.

      Additionally, at the disciplinary hearing Bev Temaat stated:

             I wanted to note for the record that our hearing panel is made up of a
             college staff member, a college faculty member, and a college
             administrator in accordance with our normal procedures. (Plaintiff's
             Exhibit A at 10:30-11:00)

      These included:
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             Monica Malley(sp?) resident life operator and student activities
             coordinator. Jane Holwerta (sp?) dean of academics, Dodge City
             Community College... Paul Young professor of economics.
             (Plaintiff's Exhibit A at 4:00-4:30)

59.   With regard to defendant's statement of fact ¶ 59, to wit:

             The tenured faculty had statutory contracts with the Board of
             Trustees and their contracts can only be terminated or non-renewed
             by the Board of Trustees, and that decision is subject to review in the
             Kansas courts pursuant to statute. (Temaat Affd., ¶ 16.)

      Plaintiff was not made aware of the identities of the members of the disciplinary

      hearing panel prior to the date of his hearing, or anything about their employment

      circumstances aside from the fact that they were all employed by Defendant. They

      were not even named in Bev Temaat's affidavit, though they provided their names

      at the hearing. VanNahmen Affd., ¶¶ 9.

      Additionally, plaintiff must dispute any assertions regarding the composition of the

      disciplinary hearing panel as there appears to be a discrepancy between Ms.

      Temaat's statement made at hearing and her affidavit filed herein, as set forth in

      ¶58.

60.   With regard to defendant's statement of fact ¶ 60, to wit:

             One of the tenured faculty Board members had already submitted his
             retirement papers. (Temaat Affd., ¶ 16.)

      Plaintiff was not made aware of the identities of the members of the disciplinary

      hearing panel prior to the date of his hearing, or anything about their employment

      circumstances aside from the fact that they were all employed by Defendant. They
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      were not even named in Bev Temaat's affidavit, though they provided their names

      at the hearing. VanNahmen Affd., ¶ 9.

      Additionally, plaintiff must dispute any assertions regarding the composition of the

      disciplinary hearing panel as there appears to be a discrepancy between Ms.

      Temaat's statement made at hearing and her affidavit filed herein, as set forth in

      ¶58.

61.   With regard to defendant's statement of fact ¶ 61, to wit:

             The Judicial Hearing Board had the discretion to investigate the
             facts, weigh the evidence presented and form its own independent
             findings as to whether the conduct violated code and what sanctions
             should be imposed. (Temaat Affd., ¶ 17.)

      Plaintiff disputes that the hearing panel was independent at least with regard to

      imposition of sanctions. His post-hearing invitation to a mitigation meeting with

      Bev Temaat strongly suggests otherwise. VanNahmen Affd., ¶ 16.

62.   With regard to defendant's statement of fact ¶ 62, to wit:

             The Judicial Hearing Board panel found the plaintiff had exhibited
             behavior that threatened harm to a college employee, conducted
             himself in a disorderly matter and demonstrated threatened
             interference and intimidation towards college employees. (Temaat
             Affd., ¶ 19; Ex. B, Hearing Disposition Letter.)

      Plaintiff disputes this, as he was never provided with any oral or written

      communication by any member of the panel. The disposition letter was signed by

      Bev Temaat, and not by any member of the panel. No member of the panel was

      carbon copied on the correspondence. The hearing took place on April 25, 2017;
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      the letter was allegedly drafted May 2, 2017 and mailed in late May or early June of

      2017. (ECF 1-6 Letter)

63.   With regard to defendant's statement of fact ¶ 63, to wit:

             The Judicial Hearing Board imposed a sanction of four years
             suspension and trespass from DCCC and its property. (Temaat
             Affdl, ¶ 19; Ex. B, Hearing Disposition Letter.)

      Plaintiff disputes this, as he was never provided with any oral or written

      communication by any member of the panel. The disposition letter was signed by

      Bev Temaat, and not by any member of the panel. No member of the panel was

      carbon copied on the correspondence. The hearing took place on April 25, 2017;

      the letter was allegedly drafted May 2, 2017 and mailed in late May or early June of

      2017. (ECF 1-6 Letter)

64.   With regard to defendant's statement of fact ¶ 64, to wit:

             Plaintiff received a letter from Dr. Temaat confirming in writing the
             disposition of the hearing and stating that his conduct violated the
             Code of Conduct. (ECF Document 28, Pretrial Order Stipulation §
             2.a.12; Ex. B, Hearing Disposition Letter.)

      Plaintiff disputes this, as he was never provided with any oral or written

      communication by any member of the panel. The disposition letter was signed by

      Bev Temaat, and not by any member of the panel. No member of the panel was

      carbon copied on the correspondence. The hearing took place on April 25, 2017;

      the letter was allegedly drafted May 2, 2017 and mailed in late May or early June of

      2017. (ECF 1-6 Letter) Additionally, a minor point but there was no mention on
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      the letter that Ms. Temaat held a doctorate degree.

65.   Plaintiff agrees with defendant's statement of fact ¶ 65.

66.   Plaintiff agrees with defendant's statement of fact ¶ 66.

67.   Plaintiff agrees with defendant's statement of fact ¶ 67.

68.   With regard to defendant's statement of fact ¶ 68, to wit:

             Plaintiff did not seek review pursuant to K.S.A. 60-2101(d). (Temaat
             Affd., ¶ 22.)

      Plaintiff disputes this fact and would refer defendant to ECF 1, p. 8: "Count III:

      Judicial Review. 22. This matter having been fully adjudicated at the

      administrative level, plaintiff asks that this Court exercise judicial review over

      DCCC's student disciplinary proceedings involving him." Also see ECF 9, p. 28:

      III. Does this Court have jurisdiction to provide judicial review? Yes. This Court

      has supplemental jurisdiction pursuant to 28 U.S.C. §1367 over a KSA 60-2101(d)

      appeal of an order of a political or taxing subdivision that ordinarily would have

      been brought before a Kansas district court.

69.   With regard to defendant's statement of fact ¶ 69, to wit:

             Plaintiff has stipulated that he has no basis for contending that the
             hearing panel was not impartial, other than they were employees of
             the college. (VanNahmen Depo., 185:11 - 186:13.)

      Plaintiff disputes this fact as it is an incomplete statement regarding his

      reservations about the composition of the hearing panel. His concern stemmed

      from the fact that everyone in the room at the hearing aside from his attorney
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      reported to or was governed by complainant Harold Nolte in some way shape or

      form. The first portion of the deposition cited by defendant states:

             My question is very simple. I understand from your lawsuit that you
             allege that these people could not be impartial because they were
             employed by the college and the president of the college was -- was
             the chief witness. I got that.

70.   Plaintiff agrees with defendant's statement of fact ¶ 70.

71.   Plaintiff agrees with defendant's statement of fact ¶ 71.

72.   Plaintiff agrees with defendant's statement of fact ¶ 72.

73.   With regard to defendant's statement of fact ¶ 73, to wit:

             Plaintiff can identify no way in which he was harmed by the delay in
             sending him the letter informing him of the Judicial Hearing Board's
             decision. (VanNahmen Depo., 195:17 - 196:24.)

      Plaintiff disputes this fact as it is an incomplete statement regarding his issue with

      the delayed letter. In itself the delay was not the problem, but a symptom of the

      true problem which was that the hearing panel was not independent and had no

      real authority or discretion. VanNahmen Affd., ¶ 16.

74.   Plaintiff agrees with defendant's statement of fact ¶ 74.

75.   With regard to defendant's statement of fact ¶ 75, to wit:

             At the meeting with plaintiff on December 5, Dr. Nolte became
             concerned for his safety because of plaintiff's demeanor and
             behavior. (Nolte Affd., ¶ 11; Ex. E, Hearing Recording, 29:25 - 29:40
             minutes.)

      Plaintiff disputes this fact.

76.   Plaintiff agrees with defendant's statement of fact ¶ 76.
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77.    Defendant did not provide a statement of fact ¶ 77.

78.    For the purpose of this response to defendant's motion, Plaintiff agrees with

       defendant's statement of fact ¶ 78.

79.    Plaintiff agrees with defendant's statement of fact ¶ 79.

80.    With regard to defendant's statement of fact ¶ 80, to wit:

              Dr. Nolte had no problem with plaintiff expressing opposition to the
              land proposal or requesting Dr. Nolte's resignation. His only
              concern was with the threatening and intimidating demeanor and
              behavior. (Nolte Affd., ¶ 14.)

       Plaintiff disputes these statements insofar as (1) he did not threaten or intimidate
       Dr. Nolte, and (2) it is patently absurd to state that Dr. Nolte had "no problem"
       with the fact that Plaintiff allegedly requested his resignation.


                                       ARGUMENTS


I.     This action is not barred by res judicata and full faith and credit.

       Defendant first cites Spencer v. USD 501, 1997 Westlaw 614329 for the proposition

that federal courts must give a state court judgment the same preclusive effect as would the

originating state. Per Allen v. McCurry, 449 U.S. 90 (1980), this would operate to bar

separate §1983 claims from being brought in federal court where their underlying merits had

already been ruled upon in state court. Per Campbell v. City of Spencer, 777 F.3d 1073 (10th

Cir. 2014) this would also operate to bar claims that were not raised but could have been in

the earlier state court proceedings. Plaintiff agrees with all of the above, but we do not have

a state court judgment here so there is just something lacking.
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       Defendant goes on to suggest by extension, citing Thompson v. Amis, 208 Kan. 658

(1972), that the only proper and appropriate action for plaintiff, if he wished to pursue his

claims, was to seek judicial review in state court and assert his §1983 claims there. Here we

disagree.

       Thompson was a mess of a case where a career civil service employee who had been

fired had her firing affirmed by the state civil service board. Unsure whether the action

should be styled as sounding in equity or as an appeal to the district court, she filed two

separate actions. Apparently counsel on both sides initially agreed that the action in equity

was appropriate, and apparently the appeal to the district court was abandoned. The

equitable action reached judgment, where it was appealed and cross-appealed. The Kansas

Supreme Court ultimately ruled that plaintiff chose wrong and should have initially pursued

the matter as an appeal to the district court. Since that action had been abandoned at the

outset, the Court ruled that it lacked jurisdiction to hear the appeal because the district court

did not have jurisdiction to hear the case in the action in equity that ultimately went up on

appeal.

       Plaintiff does not see how that has anything to do with his case. In fact, plaintiff

requested judicial review as count 3 of his petition. He just asked that the federal rather than

state district court conduct said review under pendent jurisdiction and in connection with its

consideration of his §1983 causes of action. Defendant cites no authority suggesting that a

federal district court cannot exercise pendent jurisdiction to hear a case which includes

within it a cause of action for judicial review of a state agency action. It would be the inverse
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of Allen v. McCurry, effectively barring federal courts from hearing §1983 causes of action

involving school disciplinary proceedings (and a wide host of other actions.) By defendant's

rationale judicial review of a school's action can only be brought in state court, and §1983

actions must be brought at the same time as the request for judicial review or else they are

waived, so, this federal cause of action could only be brought in a state court. That would be

an odd result, particularly given the history of 42 USC §1983.




point 2: Plaintiff was not afforded all of the process due him in connection with the

disciplinary proceeding as a matter of law.



       Defendant suggests that as a legal and factual matter, no jury could properly find that

plaintiff was denied due process. In contrast, here is what plaintiff faced:

       After a brief conversation with his school's president about a topic of local interest,

about which plaintiff and the president disagreed, plaintiff calmly left. He did not believe the

conversation was particularly unpleasant. A couple days later he returned and wanted to

speak with the president again. But now, he was treated as though he was dangerous. He

received a notice from a law enforcement officer indicating that he could attend his final

examination but that if he was caught on school grounds at any other time he would be

subject to arrest. This notice also indicated to plaintiff in vague terms that he faced discipline

at the school for conducting himself inappropriately.
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          Plaintiff did not just want to defend himself against this allegation, he first wanted to

understand what it was that he allegedly did wrong. Was it a word he said? A gesture he

made? The way he opened or closed the door? Did he stay after being asked to leave? Did

he enter the office without permission?

          With the disciplinary hearing pending, he wanted to know what action/s he took that

the school took issue with, who would be on the panel that would hear the case, could it be

heard by someone who was not in a lower position at the school than his chief accuser, would

he have the right to compel the attendance of witnesses, would the hearing be open to the

public, would he be provided copies of all of the documents that could be used against him

in the case, could his attorney conduct examination of witnesses, what penalty/ies did he

realistically face in the event it was determined he had done wrong, would the appeal be

heard by someone that did not report to the school president? He asked defendant for these

things.

          In response, his requests were denied almost in their entirety, see ECF Doc. 1-5:

1.        With regard to his demand for additional discovery materials: the defendant said it

          would comply, but then it withheld statements written by the chief witness against the

          plaintiff.

2.        With regard to his demand for assignment of the hearing to an independent

          adjudicative body, defendant denied the request.

3.        With regard to his demand that his appeal be heard by an independent reviewer:

          defendant granted that the president would not review a case in which he was a
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     witness, but that it would be reviewed by an administrator working under the

     president.

4.   With regard to his demand that complainants be made available for questioning:

     Defendant indicated it would make Carla Patee, Keith Thomas, Steven Sites, and Josh

     Thompson available, and that it would ask Harold Nolte and Stephanie Lanning if

     they were willing to testify but would not require them to do so. In fact, Defendant

     did not make Keith Thomas available. By indicating that Harold Nolte and Stephanie

     Lanning would not be compelled to appear, the school added confusion into the

     proceedings. Were they exempt because they were too important? Were they exempt

     because they were considered victims who needed protection? If so, then was

     Stephanie Lanning also suggesting she had been victimized by plaintiff?

5.   With regard to his demand that his counsel be permitted to conduct examination of

     witnesses: Defendant denied the request.

6.   With regard to his demand that his meeting be open to the public and transcribed or

     recorded: Defendant agreed to the recording but not to opening the hearing to the

     public.

7.   Perhaps most importantly, with regard to his demand that he be provided with more

     specific explanation of his alleged improper conduct:

     "DCCC refers [plaintiff] to the March 5, 2017, 'charging document' which sets forth

     the violations of the Code of Conduct alleged by the College."

8.   Regarding his demand that he be provided with notice of the penalties he may be
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       subject to if found responsible for misconduct:

       "The sanctions for violation of the Code of Conduct are found within the Code and

       set forth on pages 82-83 of the 2016-2017 Student Handbook."

9.     Regarding his demand that his trespass order be immediately lifted: Defendant denied

       the request.

       Who, in plaintiff's shoes, would not feel like "the fix was in"? Weeks after the charade

of a hearing that followed, at which plaintiff exercised his right not to testify, but before he

received the defendant's decision in his disciplinary matter, he was invited to meet with

DCCC Vice President Bev Temaat to offer mitigation. When the terms of this meeting could

not be settled on, the invitation was withdrawn. Defendant mailed him the hearing panel's

decision, dated weeks earlier, just days thereafter. Clearly the hearing panel did not wield

authority over plaintiff's fate; DCCC's administration did.

       Defendant suggests plaintiff is nit-picking. Just the opposite. Defendant cites

individual authorities it alleges are on point as to plaintiff's several individual procedural

complaints. But has there ever been a reported school discipline case at this stage this dense

with (at least) questionable procedural practices? Plaintiff neither received fair notice of what

he did wrong nor a meaningful opportunity to be heard. Defendant conceded for the purpose

of its dispositive motion that plaintiff had a property interest in his continued enrollment at

DCCC. Defendant deprived him of it without due process of law.



point 3: the evidence supports a first amendment retaliation claim as a matter of law.
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      It is clear from the evidence that plaintiff can make a credible argument that he was
punished by defendant for expressing himself peacefully and in accordance with his first
amendment rights.
                                           Respectfully Submitted,

                                             /s/ Peter J. Antosh
                                            Peter J. Antosh #21334
                                            Garcia & Antosh, LLP
                                            1401 Central
                                            Dodge City, Kansas 67801
                                            (620) 225-7400
                                            pja22@yahoo.com


                               CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of October 2018 I electronically filed the above and
foregoing amended motion response, and on that same date I emailed a copy of same to
Defendant's counsel Mr. Allen Glendenning.

                                            /s/ Peter J. Antosh
                                            Peter J. Antosh
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